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                 IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF ARKANSAS
                           WESTERN DIVISION

 LITTLE ROCK SCHOOL DISTRICT,                                    PLAINTIFFS
 et al.

 v.                         No. 4:82-cv-866-DPM

 NORTH LITTLE ROCK SCHOOL DISTRICT,                             DEFENDANTS
 et al.

 EMILY McCLENDON, et al.                                        INTERVENORS

                                 STATUS REPORT

      Jacksonville/North Pulaski School District (JNPSD), through its attorney

Scott P. Richardson, states as follows for its Status Report:

      1. Jacksonville Middle School

      Jacksonville Middle School is nearing construction completion. The Certificate

of Occupancy is scheduled for July 12, 2021. The main construction tasks to be

completed are site work and landscaping, clean-up of the interior, and repairing

punch list items. JNPSD anticipates that the school will open for the 2021-2022

school year in August 2021. The 105,859 SF school has a current construction cost of

about $26.4 million. It will replace the existing Jacksonville Middle School housed in

the former North Pulaski High School facility. JNPSD designed the school with

classroom spaces for 850 students.      The District designed the building’s single-

purpose spaces such as the media center, student dining, gymnasium, and Special

Education spaces for future growth to 1,050 students. The State has funded about

81% of the $8.07 million total Partnership Program funding available. The new




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furniture has arrived on site and is being installed. Moving teachers’ materials from

the existing school is scheduled to start in mid-July.

      2. Elementary School Replacement for Pinewood and Dupree

          Elementary Schools

      Jacksonville Elementary School is under construction with completion

scheduled for October 2021. The school will open for the spring semester of the 2021-

2022 school year in January 2022. The 91,776 SF school has a current construction

cost of about $19 million. JNPSD designed it for 750 students so that it could

comfortably replace the existing Pinewood Elementary School and Dupree

Elementary School. The project has received about 68% of the $7 million total

available Partnership Program funding.          New furniture for the school has been

ordered and should arrive in October. Baldwin & Shell’s latest construction update,

with pictures is attached as exhibit 1.

                                          Respectfully Submitted,


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